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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

                                      )
SECURITIES AND EXCHANGE COMMISSION,   )
                                      )
        Plaintiff                     )
                                      )
     v.                               )
                                      )
GREGORY LEMELSON and LEMELSON CAPITAL )
                                                         Civil Action No. 1:18-cv-11926-PBS
MANAGEMENT, LLC,                      )
                                      )
        Defendants,                   )
                                      )
  and                                 )
                                      )
THE AMVONA FUND, LP,                  )
                                      )
        Relief Defendant              )
                                      )

                      DEFENDANTS’ PROPOSED VERDICT FORM

       Defendants Father Emmanuel Lemelson (f/k/a Gregory Lemelson) and Lemelson Capital

Management, LLC respectfully submit this proposed verdict form. Defendants reserve the right

to modify or supplement this proposed verdict form as necessary.
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                                      CLAIM ONE

       Fraud in Connection with Purchase or Sale of Securities in Violation of
                   15 U.S.C. § 77q(a) and 17 C.F.R. § 240.10b-5

                          Defendant Fr. Emmanuel Lemelson

    Do you, the jury, find unanimously that the SEC has proven by a preponderance of the
    evidence that that Fr. Emmanuel Lemelson (1) made a false statement; (2) that statement
    was material; (3) that statement was in connection with the purchase or sale of securities;
    (4) that statement was made through the means or instruments of transportation or
    communication in interstate commerce or the mails; and (5) that statement was made
    with the intent to defraud or reckless disregard for the truth?



    Claim One: ______ Not Liable          ______ Liable



IF YOU FIND FR. EMMANUEL LEMELSON NOT LIABLE FOR CLAIM ONE, THEN
YOU MUST ALSO FIND FR. EMMANUEL LEMELSON NOT LIABLE FOR CLAIM
TWO.




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                                     CLAIM ONE

       Fraud in Connection with Purchase or Sale of Securities in Violation of
                   15 U.S.C. § 77q(a) and 17 C.F.R. § 240.10b-5

                   Defendant Lemelson Capital Management LLC

    Do you, the jury, find unanimously that the SEC has proven by a preponderance of the
    evidence that that Lemelson Capital Management LLC (1) made a false statement; (2)
    that statement was material; (3) that statement was in connection with the purchase or
    sale of securities; (4) that statement was made through the means or instruments of
    transportation or communication in interstate commerce or the mails; and (5) that
    statement was made with the intent to defraud or reckless disregard for the truth?



    Claim One: ______ Not Liable         ______ Liable



IF YOU FIND LEMELSON CAPITAL MANAGLEMENT LLC NOT LIABLE FOR
CLAIM ONE, THEN YOU MUST ALSO FIND LEMELSON CAPITAL MANAGEMENT
LLC NOT LIABLE FOR CLAIM TWO.




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                                  CLAIM TWO

                      Defendant Fr. Emmanuel Lemelson

Do you, the jury, find unanimously that the SEC has proven by a preponderance of the
evidence that that Fr. Emmanuel Lemelson (1) was an investment adviser; (2) made an
untrue statement of material fact or omitting to state a material fact necessary to make the
statements made, in the light of the circumstances under which they were made, not
misleading; (3) to an investor or prospective investor?



Claim Two: ______ Not Liable          ______ Liable




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                                  CLAIM TWO

                     Violation of Investment Advisers Act
               15 U.S.C. § 80b-6(4) and 17 C.F.R. § 275.206(4)-8

               Defendant Lemelson Capital Management LLC

Do you, the jury, find unanimously that the SEC has proven by a preponderance of the
evidence that that Lemelson Capital Management LLC (1) was an investment adviser; (2)
made an untrue statement of material fact or omitting to state a material fact necessary to
make the statements made, in the light of the circumstances under which they were made,
not misleading; (3) to an investor or prospective investor?



Claim Two: ______ Not Liable          ______ Liable




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These are the unanimous findings of the jury.


                                                Signature of Foreperson



                                                Date




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                                                      Respectfully Submitted,

                                                      REV. FR. EMMANUEL LEMELSON,
                                                      LEMELSON CAPITAL MANAGEMENT,
                                                      LLC, and THE AMVONA FUND, LP

                                                      By: /s/ Douglas S. Brooks
                                                      Douglas S. Brooks (BBO No. 636697)
                                                      Brian J. Sullivan (BBO No. 676186)
                                                      Thomas M. Hoopes (BBO No. 239340)
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                                                      bsullivan@lhblaw.com
                                                      thoopes@lhblaw.com

Dated: October 6, 2021

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on October 6, 2021.

                                                             /s/ Douglas S. Brooks
                                                             Douglas S. Brooks




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